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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                       :     CRIMINAL NO. 22-cr-15 (APM)
                                                :
                  v.                            :
                                                :
 ELMER STEWART RHODES III,                      :
                                                :
 KELLY MEGGS,                                   :
                                                :
 KENNETH HARRELSON,                             :
                                                :
 JESSICA WATKINS, and                           :
                                                :
 THOMAS CALDWELL,                               :
                                                :
                       Defendants.              :

            UNITED STATES’ MOTION IN LIMINE CONCERNING CERTAIN
              STATEMENTS AND THE ATTORNEY-CLIENT PRIVILEGE

       On Friday, October 7, 2022, the government moved to admit certain December 2020

messages between Stewart Rhodes and co-conspirator Kellye SoRelle. Defense counsel for

Rhodes and Kelly Meggs objected, claiming that these and other similar messages may be subject

to attorney-client privilege. They are not.

       I.      Procedural Background

       On January 12, 2022, the defendants in this case were indicted on charges of, among others,

seditious conspiracy, in violation of 18 U.S.C. § 2384; conspiracy to obstruct an official

proceeding, in violation of 18 U.S.C. § 1512(k); and tampering with documents or proceedings, in

violation of 18 U.S.C. § 1512(c)(1). ECF No. 1. On August 30, 2022, co-conspirator Kellye

SoRelle was indicted on charges of, among others, conspiracy to obstruct an official proceeding,

in violation of 18 U.S.C. § 1512(k). Case No. 22-cr-290, ECF No. 1.
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       At the pretrial conference on September 14, 2022, counsel for Kelly Meggs raised the

prospect of advancing an advice-of-counsel defense at trial. According to the Court, this was the

“first time the court . . . had heard of this possibility.” ECF No. 318 at 1. On September 15,

2022, the Court issued an Order, requiring any defendant intending “to assert an advice-of-counsel

defense as to any count of the Indictment” to make such disclosure by September 21, 2022. Id.

The Court imposed this requirement to ensure adequate time to “assess the viability of the

defense,” Id. at 1 (citing United States v. West, 392 F.3d 450, 456-57 (D.C. Cir. 2004); United

States v. DeFries, 129 F.3d 1293, 1308 (D.C. Cir. 1997)), and to “timely compel the disclosures

necessary to allow the government to prepare for the defense,” Id. at 2 (citing United States v.

Crowder, 325 F. Supp. 3d 131, 138 (D.D.C. 2018)). According to the Court, the “[d]efendants

have had ample time to determine whether to advance the defense,” noting that they have been on

notice for at least six months in light of certain statements of offense that had been publicly

docketed since March 2022. Id. at 2. “Failure to provide the notice,” the Court admonished,

“may lead the court to preclude a defendant from asserting such a defense.” Id. at 3 (citing

Crowder, 325 F. Supp. 3d at 138).

       On September 21, 2022, Stewart Rhodes, Kelly Meggs, and Kenneth Harrelson filed a

notice that “it is reasonably likely that the defense of advice of counsel may be presented in the

trial of this case.” ECF No. 333 at 1-2. The defendants asserted they “lacked any unlawful intent

as to the counts in the superseding indictment and acted in good faith in all relevant respects

pursuant to advice received by attorney Kellye SoRelle.” Id. at 2. Because the government’s

filter team reviewed SoRelle’s phone and withheld certain communications from the defendants

and prosecution team, the defendants claimed they were “not in a position” to determine whether

to rely on an advice-of-counsel defense. Id. at 2 n.1.

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       On October 6, 2022, the government’s filter team made available to the defendants a

privilege log documenting its efforts to filter SoRelle’s phone and the actual communications it

had filtered and withheld from both the defendants and the prosecution team. And, on October

10, 2022, the government’s filter team made available to Rhodes the isolated set of

communications it had filtered from Rhodes’ phone and withheld from the prosecution team; this

simply served to highlight potentially relevant messages that the defendants have already

possessed in discovery since early July 2022 at the latest.1

       On October 7, 2022, the government attempted to admit through Federal Bureau of

Investigation Special Agent Byron Cody certain December 2020 messages from Rhodes to

SoRelle. Specifically, on December 29, 2020, Rhodes messaged SoRelle:

       This will be DC rally number three. Getting kinda old. They don’t give a shit
       how many show up and wave a sign, pray, or yell. They won’t fear us till we come
       with rifles in hand. . . . Only reason to go is so Trump knows we support him in
       taking Reg gloves off and kickin ass. . . . That’s why I’m going. It’s to send HIM
       a message. Not Congress. I’m done talking to them.

Gov. Exhs. 1.S.737.2818-2820. Rhodes went on to note that he was going to sleep. Later,

SoRelle did not respond directly to Rhodes’ messages but proceeded to discuss their New Year’s



1
  The government is also aware that the defendants have asserted that certain other December 2020
messages in their possession are subject to the attorney-client privilege. The government is aware
that some of these messages took place on December 10, 2020, and included Rhodes, SoRelle, and
at least three other people.

The prosecution team believes that, although these messages were withheld from production to the
prosecution team from SoRelle’s phone, they were not withheld from production to the prosecution
team from Rhodes’ phone. The government’s filter team informed the prosecution team that it
employed a broader, more conservative approach to filtering co-conspirator Kellye SoRelle’s
phone than it employed when filtering other co-conspirators’ phones in light of SoRelle’s status
as an attorney with clients other than the charged defendants. As a matter of prudence, the
prosecution team has not reviewed these messages since the defendants raised this issue with the
Court. And the December 10, 2020 messages from Rhodes to SoRelle are not currently on the
government’s exhibit list.
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plans. Defense counsel objected and asserted that these messages may be subject to attorney-

client privilege. Defense further advised that, because they have reserved the right to assert the

advice-of-counsel defense but have not formally asserted it, the defendants had not yet waived any

such privilege if it exists. Later, the Court admonished, “I would like to get this privilege issue

resolved next Tuesday [October 11, 2022]. I mean, in other words, whether the defense is going

to insist that these communications between Mr. Rhodes and Ms. SoRelle are, in fact, privileged,

because if you are, that opens up the next question of whether crime fraud applies or something

else.” Oct. 7, 2022, Trial Tr. at 2235-36.

         II.    Kellye SoRelle Background

         At approximately 2:00 PM, after court concluded on October 7, 2022, Dan Friedman, a

reporter for Mother Jones magazine, tweeted:

         Kellye SoRelle is currently not commenting to press due to the charges against her,
         but has said: “didn’t have an attorney-client relationship with Stewart.” She also
         said that Rhodes only started referring to her as Oath Keepers’ general counsel after
         Jan. 6 “to CYA.”2

The record appears to support that timeline.

         On November 4, 2020, various publications claimed that SoRelle allegedly recorded a

video in which she and others claimed election workers in Detroit, Michigan were committing

voter fraud. The publications referred to SoRelle as a “poll watcher” and “a Texas lawyer and

member of Lawyers for Trump.” 3 Indeed, on November 6, 2020, SoRelle described herself




2
    See https://twitter.com/dfriedman33/status/1578445031299776512.
3
 See https://texasscorecard.com/federal/video-wagons-suitcases-and-coolers-roll-into-detroit-
voting-center-at-4-am/.

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similarly on her own Twitter account as, “mom, attorney, student of life, patriot.”4 According to

various Signal messages and cooperating defendants, members of the Oath Keepers began to

provide security for SoRelle around this time.

         In December 2020, Rhodes and SoRelle issued two public calls to action. On December

14, 2020, for example, Rhodes and SoRelle wrote, “We are in a fight, no matter what. Let’s get

it done with you as Commander in Chief.” Gov. Exh. 1005. If President Trump failed to act,

Rhodes and SoRelle warned, “we the people will have to fight a bloody revolution/civil war to

throw off an illegitimate deep state/Chinese puppet regime.” Id. Rhodes signed the letter,

“Stewart Rhodes, Yale 04, Army Airborne veteran.” SoRelle signed the letter, “Kellye SoRelle,

Texas attorney and former prosecutor.” And, on December 23, 2020, Rhodes and SoRelle wrote,

“If you [President Trump] fail to do your duty, you will leave We the People no choice but to walk

in the Founders footsteps, by declaring the regime illegitimate, incapable of representing us,

destructive of the just ends of government . . . And, like the Founding generation, we will take to

arms in defense of our God given liberty, we will declare our independence from that puppet

regime, and we will fight for our liberty.” Gov Exh. 1008      Rhodes signed the letter, “Stewart

Rhodes, Founder of Oath Keepers,” among other titles. SoRelle signed, “Kellye SoRelle, Texas

patriot lawyer, Former Texas Prosecutor.” Id.

         On December 29, 2020, Rhodes sent SoRelle the messages at issue, explaining that

Congress would not fear them “till we come with rifles in hand.” Gov. Exh. 1.S.737.2818.




4
    See https://archive.ph/8PtFD.
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       On January 6, 2021, after approximately 2:00 PM, SoRelle breached the restricted areas of

the Capitol grounds with Rhodes. SoRelle livestreamed herself on Facebook with Rhodes and

the Capitol building in the background, stating:

       I want to show y’all something, probably one of the coolest damn things I’ve seen
       in my entire life: I’m telling you right now, government, people are pissed, but you
       guys need to watch. They broke the line, guys. People are going. This isn’t a
       bad thing, and you can’t be scared. This is what you do. Otherwise you end up
       as Communist little peasants, in little societies where you have no ability, no voice,
       no vote—you’re basically slaves. But this is what happens when the people are
       pissed—they rise up. So you know what, guys? It’s pretty amazing. You guys
       should enjoy it. They broke the barrier, they got up there, they may end up inside
       before it’s all said and done, and that’s okay, too. That’s how you take your
       government back. You literally take it back.

In another video, SoRelle stated, “Just so you can see, they had barricades up – keeping us away

from the building was the goal. . . . Over the top, they’ve occupied both sides now, oh no, think

we can hang ‘til the 20th or what?”

       On the evening of January 6, 2021, “Rhodes . . . came to believe that law enforcement was

searching for Rhodes and others after their attack on the Capitol.” Cooperator Joshua James

Statement of Offense, ECF No. 60 at 10. “Rhodes divvied up various firearms and other gear

among James and others who occupied a total of three cars. Rhodes left his mobile phone with

one person and departed with another person in that person’s car so that law enforcement could

not locate and arrest him. The three cars departed in separate directions.” Id. at 10-11. The

person Rhodes left his phone with was Kellye SoRelle. On January 8, 2021, “James met with

Rhodes and others at a restaurant in Alabama.” After James showed Rhodes a video of his assault

on law enforcement officers, Rhodes “told James to alter his physical appearance to conceal his

identity.” SoRelle was at the restaurant with Rhodes and James.




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       On January 8, 2021, SoRelle messaged the “Leadership Intel Sharing Secured” Signal

group chat: “MESSAGE FROM STEWART: My cell is down. Will be back up soon. Can’t be

avoided for now.” Gov. Exh. 54.S.125.2860. SoRelle later added: “FROM STEWART PART

II: Do NOT chatter about any OK members doing anything at capital. Stop the chatter. I told

you before that anything you say can and will be used against you. Apparently that wasn’t worded

strongly enough for some to get the message. So let me say it like this: CLAM UP. DO NOT

SAY A DAMN THING. . . . Let me put it in infantry speak: SHUT THE FUCK UP!” Gov. Exh.

54.S.125.2869 - 2874. SoRelle concluded:

       STEWART: YOU ALL NEED TO DELETE ANY OF YOUR COMMENTS
       REGARDING WHO DID WHAT. You are under zero obligation to leave them
       up. You/we have not yet gotten a preservation order instructing us to retain those
       chat comments. So DELETE THEM. . . . DELETE your self-incriminating
       comments or those that can incriminate others. Start now. Each of you Go back
       to before the event and scroll forward and hunt down any comment you made that
       can be used against you, other Oath Keepers, or the org and delete them. And
       especially AARs [after action reports] and war stories. Kill em. Do it now.

Gov Exh. 54.S.125.2878 - 2879. SoRelle then messaged, “Go back and delete individual posts.

Got it?” Gov. Exh. 54.S.125.2914. Other individuals in the chat immediately began setting

messages to “disappear” and discussing how to delete messages on their phones and others’

phones.

       The same day (January 8, 2021), SoRelle messaged the “Leadership Intel Sharing Secured”

Signal group chat: “As counsel for OathKeepers and as a potential attorney for you… please call

me do not openly discuss legal concerns in the group. Everyone save my cell number. . . . please

distribute my cell to your peeps.” Gov. Exh. 54.S.125.2991. SoRelle later added, “Stewart is

not currently licensed as an attorney and is asking that all potential legal exposure issued be

directed to me. You have attorney client privilege with me. Do not communicate with anyone


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regarding exposure except me. Anything you communicate with others can be used against you.”

Gov. Exh. 54.S.125.3004. These January 8, 2021 messages are the first instance the government

has discovered in which SoRelle held herself out as an attorney for the Oath Keepers organization

or any individuals associated with the Oath Keepers. Later, on January 22, 2021, SoRelle

messaged the same group chat: “I am now considering this chain attorney client privilege regarding

organizational business.” Gov. Exh. 54.S.125.4582.

         Indeed, prior to January 6, 2021, there appears to be no evidence that SoRelle publicly

claimed she was the Oath Keepers general counsel. As noted above, in November 2020, SoRelle

described herself on her Twitter account as, “mom, attorney, student of life, patriot.”5 As of April

10, 2021, however, SoRelle described herself on Twitter as, “mom, attorney, student of life,

patriot, Attorney for Latinos for Trump, Blacks for Trump and General Counsel for Oath

Keepers.”6 And SoRelle’s profile on the Texas State Bar webpage states that she specializes in

“Family, Immigration, [and] Juvenile” law from her position at the “Law Office of Kellye

SoRelle.” 7 There is no indication, either before or after January 6, 2021, that SoRelle ever

identified herself with the Texas State Bar as being professionally affiliated with the Oath Keepers.

         Rhodes’ messages reveal the same timeline. The prosecution team has not been able to

find any messages in which Rhodes refers to SoRelle as the general counsel for the Oath Keepers

until after January 6, 2021. On January 22, 2021, Rhodes messaged the “Leadership Intel Sharing

Secured” Signal group chat: “All, if anyone has personal questions or issues, DM me directly or if


5
    See https://archive.ph/8PtFD.
6
  See https://web.archive.org/web/20210410215546/https:/twitter.com/kellyesorelle (emphasis
added).
7
  See https://www.texasbar.com/AM/Template.cfm?Section=Find_A_Lawyer&template=/Cus
tomsource/MemberDirectory/MemberDirectoryDetail.cfm&ContactID=290298.
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you need to speak with Kellye, as our attorney, DM her directly. Do NOT ramble on about

anything related to Jan 6 here.” Gov. Exh. 54.S.125.4591. In fact, on January 23, 2021, in

describing the Oath Keepers’ activities during the relevant time period, Rhodes described

providing security for SoRelle, whom he described as “whistleblower lawyer Kellye SoRelle.”

Gov. Exh. 54.S.125.4646.

       Beginning on March 10, 2021, Rhodes began to repeatedly refer to SoRelle as “general

counsel.” See March 10, 2021 message (“Our general counsel, Kelley SoRelle, has court this

morning so it will have to be this afternoon.”); March 15, 2021 email (“God bless, Stewart Rhodes.

PS – on this is also Kellye SoRelle, our General Counsel”); March 18, 2021 message (“I don’t

want direct contact up front. Let’s go through our Oath Keepers general counsel. Kellye

SoRelle. Message her here on Signal and she will take it from there.”); March 23, 2021 message

(“When I was on with Alex last week, he said he wanted me and Oath Keepers general counsel

Kellye SoRelle to come on together to discuss the legal cases of all the Jan 6 political prisoners”);

April 5, 2021 message (“I’ll ask attorney Kellye SoRelle to come on with me, as our General

Counsel.”); April 9, 2021 (“Kellye will do that as our General Counsel. Lawyer to lawyer.”);

April 23, 2021 message (“meet Kellye SoRelle, general counsel for Oath Keepers. She was on

with me in an interview with Alex a couple weeks ago.”).

       III.    Argument

       The December 2020 messages at issue between Rhodes and SoRelle are not subject to any

attorney-client privilege. The defendant owns the burden of making a proper showing to assert

an advice-of-counsel defense. DeFries, 129 F. 3d at 1308. Despite the Court’s September 15,

2022 admonition to the defendants to decide prior to trial whether they will rely on advice-of-

counsel defense, the defendants have not, and cannot, make the requisite showing for three reasons.

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        First, the defendants have not shown that an attorney-client relationship existed between

Rhodes (or any defendant) and SoRelle, or the Oath Keepers organization and SoRelle, before

January 6, 2021. “An attorney-client relationship is formed when a client and an attorney

explicitly or by their conduct, manifest an intention to create the attorney/client relationship.”

Headfirst Baseball LLC v. Elwood, 999 F. Supp. 2d 199, 209 (D.D.C. 2013) (citing In re Ryan,

670 A.2d 375, 379 (D.C.1996)). When there is no evidence of an explicit relationship, such as a

written agreement or the payment of fees, the burden falls to the party asserting the benefit of the

relationship to prove its existence. Id.; see also FTC v. Boehringer Ingelheim Pharm., Inc., 892

F.3d 1264, 1267 (D.C. Cir. 2018); Restatement (Third) of the Law Governing Lawyers § 14 (“A

relationship of client and lawyer arises when a person manifests to a lawyer the person’s intent

that the lawyer provide legal services for the person; and either (a) the lawyer manifests to the

person consent to do so; or (b) the lawyer fails to manifest lack of consent to do so, and the lawyer

knows or reasonably should know that the person reasonably relies on the lawyer to provide the

services.”).

        “In determining whether an attorney-client relationship exists, courts have considered

factors such as (1) the character or nature of the information allegedly shared with the attorney;

(2) the passage of time between the alleged former representation and the current litigation; (3) the

payment of fees; and (4) the existence of a formal agreement.” Headfirst Baseball LLC, 999 F.

Supp. 2d at 209 (citing Teltschik v. Williams & Jensen, PLLC, 683 F. Supp. 2d 33, 45 (D.D.C.

2010) (listing the following factors for consideration: “whether the client perceived that an

attorney-client relationship existed, whether the client sought professional advice or assistance

from the attorney, whether the attorney took action on behalf of the client, and whether the attorney

represented the client in proceedings or otherwise held herself out as the client's attorney”)).

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Ultimately, whether an attorney-client relationship has been formed is a question of fact.

Williams v. Mordkofsky, 901 F.2d 158, 164 (D.C. Cir. 1990).

       Additionally, when an attorney represents a corporate entity, the attorney’s representation

of the entity is distinct from the personal representation of everyone associated with the corporate

entity. “A lawyer employed or retained by an organization represents the organization acting

through its duly authorized constituents”—its “[o]fficers, directors, employees, and shareholders.”

D.C. Rules of Professional Conduct, Rule 1.13, 1.13(a), Comment 1. Similarly, D.C. Rule 4.2(c),

which pertains to communications between an attorney and represented parties, specifies that for

purposes of Rule 4.2, “the term ‘party’ or ‘person’ includes any person or organization, including

an employee of an organization, who has the authority to bind an organization as to the

representation to which the communication relates.” Thus, the D.C. rules relevant to corporate

representation reflect the principle that corporate counsel’s representation of an entity does not

extend to personal representation of everyone associated with that entity.            The “default

assumption is that the attorney only represents the corporate entity.”          In re Grand Jury

Investigation, Case No. 19-15 (BAH), 2019 WL 2179116, at * 15 (D.D.C. Mar. 4, 2019).

       The defendants have not shown that SoRelle represented Rhodes or any other defendant

before January 6, 2021. Based on the evidence currently in the prosecution team’s possession,

SoRelle did not take any legal action on their behalf, did not represent the defendants in any legal

proceedings, did not enter any formal agreement with them, and did not receive payment from

them for any legal services. None of the defendants’ statements or conduct “manifest” any

intention to enter a legal relationship with SoRelle before January 6, 2021.         Nor have the

defendants presented any evidence that the Oath Keepers organization and SoRelle entered into a



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legal agreement before January 6, 2021; in any event, the defendants have not presented any

evidence that such an arrangement would have extended to them in their individual capacities.

        Second, even if such a legal relationship existed between Rhodes (or any of the defendants)

and SoRelle, the communications at issue do not constitute communications made to obtain

attorney-client protected advice. Because it is adverse to discovery and the adversary process,

“the ‘attorney-client privilege must be strictly confined within the narrowest possible limits

consistent with the logic of its principles.’” Boehringer Ingelheim Pharm., Inc., 892 F.3d at 1269

(Pillard, J., concurring) (quoting In re Lindsey, 158 F.3d 1263, 1272 (D.C. Cir. 1998)). Messages

between an attorney and her client are privileged “if the communication was made for the purpose

of obtaining or providing legal advice.” Id. at 1267. The D.C. Circuit has laid out the conditions

under which the attorney-client privilege attaches:

        The privilege applies only if (1) the asserted holder of the privilege is or sought to
        become a client; (2) the person to whom the communication was made (a) is a
        member of the bar of a court or his subordinate and (b) in connection with this
        communication is acting as a lawyer; (3) the communication relates to a fact of
        which the attorney was informed (a) by his client (b) without the presence of
        strangers (c) for the purpose of securing primarily either (i) an opinion on law or
        (ii) legal services or (iii) assistance in some legal proceeding, and not (d) for the
        purpose of committing a crime or tort; and (4) the privilege has been (a) claimed
        and (b) not waived by the client.

In re Sealed Case, 737 F.2d 94, 98-99 (D.C. Cir. 1984) (citations omitted). Ultimately, attorney-

client communications are privileged if “they rest on confidential information obtained from the

client.” Id. at 99.

        The messages at issue fall far below the threshold of confidential, privileged

communications between an attorney and client. The government is aware that the December 10,

2020 messages were between Rhodes and SoRelle and at least three other individuals, thereby

piercing the privilege. See In re Sealed Case, 737 F.2d at 99 (“the communication relates to a

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fact of which the attorney was informed by his client without the presence of strangers”) (emphasis

added). Likewise, the December 29, 2020 messages at issue between Rhodes and SoRelle do not

constitute a fact from Rhodes to SoRelle communicated for the purpose of securing an opinion on

law or legal services. Rhodes voicing that Congress does not “give a shit how many show up and

wave a sign, pray, or yell” and that “[t]hey won’t fear us till we come with rifles in hand,” is, quite

simply, an inculpatory statement of his criminal intent and reason for going to Washington, D.C.,

on January 6, 2021.

       Finally, and relatedly, SoRelle is a co-conspirator in the charged conspiracy to obstruct an

official proceeding, and communications to and from her are exempted from the attorney-client

privilege by the crime-fraud exception. Communications between an attorney and her client are

“not protected if the communications are made in furtherance of a crime, fraud, or other

misconduct.” In re Sealed Case, 754 F.2d 395, 399 (D.C. Cir. 1985); see also Clark v. United

States, 289 U.S. 1, 14 (1933); West, 392 F.3d at 45-57. Once the privilege is established, the

burden of overcoming the privilege falls on the party seeking to invoke the exception. In re

Sealed Case, 107 F.3d 46, 50 (D.C. Cir. 1997). To overcome the privilege, the government must

meet two conditions: “First, the client must have made or received the otherwise privileged

communications with the intent to further an unlawful or fraudulent act. Second, the client must

have carried out the crime or fraud.” Id. at 49 (internal citations omitted). To satisfy its burden

of proof, the government must “offer[] evidence that if believed by the trier of fact would establish

the elements of an ongoing or imminent crime or fraud.” Id. at 50 (quoting In re Sealed Case,

754 F.2d at 399).

       SoRelle played an active role in the conspiracy to obstruct the official proceeding on

January 6, 2021. She was the only other signatory on the December 14 and December 23, 2020,

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open letters to then-President Trump urging him to invoke the Insurrection Act and warning that

Rhodes, SoRelle, and other conspirators would act regardless. She later breached the restricted

Capitol grounds with Rhodes and, while doing so, laid out exactly what her and others’ intent was

in a video: “They broke the barrier, they got up there, they may end up inside before it’s all said

and done, and that’s okay, too. That’s how you take your government back. You literally take

it back.” She later added: “Just so you can see, they had barricades up – keeping us away from

the building was the goal. . . . Over the top, they’ve occupied both sides now, oh no, think we can

hang ’til the 20th or what?” Rhodes’ communications to and from SoRelle were made not to

solicit or provide legal advice; they were made to further the conspiracy.

       IV.     Conclusion

       For the foregoing reasons, Rhodes’ December 2020 communications with SoRelle are not

subject to the attorney-client privilege.

                                             Respectfully submitted,

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